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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
    PETER P. STRZOK,                               )
                                                   )
                  Plaintiff,                       )
                                                   )       Civil Action No. 19-2367 (ABJ)
           v.                                      )
                                                   )
    ATTORNEY GENERAL MERRICK B.                    )
    GARLAND, in his official capacity, et al.,     )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )
                                                   )
    LISA PAGE,                                     )
                                                   )
                  Plaintiff,                       )
                                                   )       Civil Action No. 19-3675 (TSC)
           v.                                      )
                                                   )
    U.S. DEPARTMENT OF JUSTICE, et al.,            )
                                                   )
                  Defendants.                      )
                                                   )

            JOINT STATUS REPORT AND JOINT MOTION TO EXTEND STAY

          On May 28, 2024, the parties informed the Court that they had reached a tentative

agreement to resolve all of both Plaintiffs’ claims under the Privacy Act, 5 U.S.C. § 552a.1

Pursuant to the Court’s May 28 and July 1, 2024 Minute Orders, this case has been stayed while

the parties negotiated final written settlement agreements regarding the Privacy Act claims. Those

written agreements have been reached, subject to Defendants obtaining final approval.



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  The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
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       The parties respectfully request that the Court extend the stay through July 26, 2024 to

provide time for Defendants to obtain final approval.

       In the Court’s July 1, 2024 Minute Order, the Court ordered Defendants and Mr. Strzok to

file a joint status report regarding further proceedings in Mr. Strzok’s case. In light of the parties’

request for an extension of the stay, Defendants and Mr. Strzok respectfully request that this

deadline be extended through July 26, 2024. Defendants and Mr. Strzok expect to provide their

respective positions on summary judgment briefing by that date and do not anticipate that further

extensions will be needed.

Dated: July 19, 2024                           Respectfully submitted,

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